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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

  ORDER FOR VEOLIA TO PROVIDE CERTAIN CONTRACTS TO
                     THE COURT

       Plaintiffs have challenged approximately 1700 of the attorney-

 client privilege and/or work product assertions made in VNA’s document

 productions. The Court has conducted an in camera review of 60 of the

 1700 documents.

       In the Court’s consideration of VNA’s privilege and work product

 designations, the Court orders that, by July 12, 2023, Veolia file on the

 docket any contracts between VNA and Mercury, as well as VNA and
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 Rasky,1 that include a description of the scope of Mercury and Rasky’s

 work for the relevant time period.

       IT IS SO ORDERED.

 Dated: July 6, 2023                         s/Judith E. Levy
 Ann Arbor, Michigan                         JUDITH E. LEVY
                                             United States District Judge

                        CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on July 6, 2023.

                                             s/Erica Parkin on behalf of
                                             WILLIAM BARKHOLZ
                                             Case Manager




 1 “Mercury” refers to any Mercury entity including Mercury LLC, Mercury Public
 Affairs, and/or Mercury Communication Partners. “Rasky” refers to any Rasky entity,
 including Rasky Partners, Inc. and/or Rasky Baerlin.
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